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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :
                                               : Criminal No. 17-cr-182 (RDM)
GEORGE PAPADOPOULOS                            :
                                               :
               Defendant.                      :

                                    STATUS REPORT

        The parties respectfully request that in lieu of the telephonic conference currently set for

April 23, 2018, the parties provide a joint status report within thirty days, no later than May 23,

2018.


                                                      ROBERT S. MUELLER, III
                                                      Special Counsel


                                               By:    ______/s/_________________
                                                      Jeannie S. Rhee
                                                      Andrew D. Goldstein
                                                      Aaron S.J. Zelinsky
                                                      The Special Counsel’s Office

cc: Thomas M. Breen
    Robert W. Stanley




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